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                                   IN THE
                        UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF
                                PENNSYLVANIA




 UNITED STATES                                            :

                 v.                                       :       Criminal No. 23-159

 DENISE LODGE                                             :



                                                ORDER


        AND NOW, this           day of June, 2024, upon the defendant, Denise Lodge’s Unopposed

Motion to Continue Date for Filing of Objections to Presentence Investigation Report, it is hereby

ORDERED that the date for filing objections is extended to July 15, 2024.




                                        BY THE COURT:



                                        ______________________________________________
                                        HONORABLE CHIEF JUDGE MATTHEW W. BRANN
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 (610) 668-7927                                                  Attorney for Defendant



                                    IN THE
                         UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF
                                 PENNSYLVANIA




 UNITED STATES OF AMERICA                                :

                  v.                                     :       Criminal No. 23-159

 DENISE LODGE                                            :



                DEFENDANT’s UNOPPOSED MOTION TO CONTINUE DATE
                                      FOR
            FILING OBJECTIONS TO PRESENTENCE INVESTIGATION REPORT



        The defendant, Denise Lodge, by and through her attorney, Hope C. Lefeber, Esquire, hereby

files the instant Unopposed Motion to Continue Date for Filing Objections to Presentence Investigation

Report to July 15, 2024, and states as follows:

        1. The Presentence Investigation Report (Dkt. #85) was filed on June 10, 2024. Objections are

            due on June 27, 2024.

        2. The undersigned, counsel for defendant Denise Lodge is currently on vacation, returning on

            June 30, 2024.
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3. The Presentence Investigation Report raises novel issues of first impression which require

    additional legal research and discussion with the government, as these issues were not agreed

    to between the parties and were not part of the plea agreement.

4. The requested continuance of the date for filing objections to the Presentence Investigation

    Report will not delay the proceedings as the defendant’s sentencing date has not been set as

    the remaining defendants have not yet been tried.

5. Sean Camoni, Assistant United States Attorney, and Rachel Johnson, U.S. Probation Officer,

    advise that neither the government nor the U.S. Probation Office have any objection to

    defendant’s request for an extension until July 15, 2024 to file objections.

6. For all of the foregoing reasons, the defense respectfully requests that the date for the filing of

    objections to the Presentence Investigation Report be continued to July 15, 2024.

    WHEREFORE, it is respectfully requested that the instant Motion be GRANTED.



                                  Respectfully,

                                  HOPE C. LEFEBER, LLC

                                  By:



                                  _____________________________
                                  HOPE C. LEFEBER, ESQUIRE
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                                     CERTIFICATE OF SERVICE




        I certify that a copy of the attached Unopposed Motion to Continue was served upon the counsel

of record, by electronic filing, on June 18, 2024:




                                                            /s/
                                                     ______________________________
                                                     HOPE C. LEFEBER
